              Case 23-90108 Document 13 Filed in TXSB on 03/03/23 Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                       )
    In re:                                             )
                                                       )     Chapter 11
    CURITEC, LLC1                                      )
                                                       )     Case No. 23-90108
             Debtor.                                   )
                                                       )

             DEBTOR’S WITNESS AND EXHIBIT LIST FOR HEARING SCHEDULED
               FOR MARCH 6, 2023 AT 2:30 P.M. (PREVAILING CENTRAL TIME)

    Judge:                       Christopher M. Lopez
    Hearing Date:                Tuesday, March 6, 2023
    Hearing Time:                2:30 p.m. (prevailing Central Time)
    Party’s Name:                Curitec, LLC
    Attorney’s Name:             Casey Doherty, Samuel Maizel, and Andrew C. Helman
    Attorney’s Phone:            (207) 619-0919 (Helman)
    Nature of Proceeding:        First Day Hearing on the following motions:
                                      Notice of Designation as Complex Chapter 11 Bankruptcy Case
                                        [Docket No. 2];
                                      Debtor’s Emergency Motion for Entry of an Order Authorizing
                                        Payment of Certain Prepetition (I) Wages, Salaries, and Other
                                        Compensation; (II) Reimbursable Employee Expenses; (III)
                                        Employee Benefits; and (IV) Related Costs [Docket No. 6];
                                      Debtor’s Emergency Motion for Entry of Interim and Final
                                        Orders (I) Authorizing the Debtor to (A) Continue Using Its Cash
                                        Management System, and (B) Maintain Existing Bank Account
                                        and Business Forms and Books and Records, and (II) Granting
                                        Related Relief [Docket No. 7];
                                      Debtor’s Emergency Motion For Entry of an Order (I) Approving
                                        the Debtor's Proposed Adequate Assurance of Payment for Future
                                        Utility Services, (II) Prohibiting Utility Providers From Altering,
                                        Refusing, or Discontinuing Services, (III) Approving the Debtor's
                                        Proposed Procedures for Resolving Adequate Assurance
                                        Requests, and (IV) Granting Related Relief [Docket No. 8]; and
                                      Debtor’s Emergency Motion for Entry of an Order (I) Authorizing
                                        Employment and Payment of Professionals Utilized in the
                                        Ordinary Course of Business and (II) Granting Related Relief
                                        [Docket No. 9].

1
 The last four digits of the taxpayer identification number of Curitec, LLC are 3000. The principal office of Curitec,
LLC are located at 24 Waterway Ave, Suite 755, The Woodlands, TX 77380.


22726318.v1
         Case 23-90108 Document 13 Filed in TXSB on 03/03/23 Page 2 of 4




        Curitec, LLC, the above-captioned debtor and debtors in possession (the “Debtor”), files

its Witness and Exhibit List for the hearing to be held on March 6, 2023 at 2:30 p.m. (prevailing

Central Time) (the “Hearing”) as follows:

                                           WITNESSES

        The Debtor may call the following witnesses at the Hearing:

        1.     Nicholas Percival, manager, 50% owner, and chief operating officer of the Debtor;

        2.     Any witness listed or called by any other party; and

        3.     Rebuttal witnesses as necessary.

                                             EXHIBITS

        The Debtor may offer for admission into evidence any of the following exhibits at the

Hearing:

 Ex. Description                             Offered Objection Admitted/             Disposition
                                                               Not Admitted
 1     Declaration of Nicholas Percival
       in Support of Chapter 11 Petition
       and First Day Motions [Docket
       No. 5]
 2     Any other document or pleading
       filed in the above-captioned case
 3     Any exhibit necessary for
       impeachment and/or rebuttal
       purposes
 4     Any exhibit identified or offered
       by any other party

                                 RESERVATION OF RIGHTS

        The Debtor reserves the right to supplement, amend or delete any witness and exhibits prior

to the Hearing. The Debtor also reserves the right to use any exhibits presented by any other party

and to ask the Court to take judicial notice of any document. The Debtor finally reserves the right

to introduce exhibits previously admitted.

                                                  2
22726318.v1
         Case 23-90108 Document 13 Filed in TXSB on 03/03/23 Page 3 of 4




Dated: March 3, 2023                 Respectfully submitted,

                                     /s/ Casey Doherty
                                     Casey Doherty
                                     Dentons US LLP
                                     1300 Post Oak Blvd.
                                     Suite 701
                                     Houston, TX 77056
                                     Phone: (713) 658-4600
                                     Email: casey.doherty@dentons.com

                                     -and-

                                     Samuel R. Maziel (pro hac vice forthcoming)
                                     Dentons US LLP
                                     601 S. Figueroa Street
                                     Suite 2500
                                     Los Angeles, CA 90017
                                     Phone: (213) 892-2910
                                     Email: samuel.maziel@dentons.com

                                     -and-

                                     Sam J. Alberts (pro hac vice forthcoming)
                                     David F. Cook (pro hac vice forthcoming)
                                     Dentons US LLP
                                     1900 K Street NW
                                     Washington, DC 20006
                                     Phone: (202) 408-7004
                                     Email: sam.alberts@dentons.com
                                            david.f.cook@dentons.com

                                     -and-

                                     Andrew C. Helman (pro hac vice forthcoming)
                                     Gina M. Young (pro hac vice forthcoming)
                                     Dentons Bingham Greenebaum LLP
                                     One Beacon Street
                                     Suite 25300
                                     Boston, MA 02108
                                     Phone: (207) 619-0919
                                     Email: andrew.helman@dentons.com
                                            gina.young@dentons.com

                                     Proposed Counsel to the Debtor




                                        3
22726318.v1
         Case 23-90108 Document 13 Filed in TXSB on 03/03/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

        This is to certify that I have on March 3, 2023, I caused a copy of the foregoing document
to be served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                             /s/ Casey Doherty
                                             Casey Doherty




                                                4
22726318.v1
